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                               UNITED STATES DiSTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,
                                                                       No. 09-cr-130 (PGS)

                         V.

                                                                             ORDER

DALNAVE NAVIGATION, INC.,
PANAGIOTIS STAMATAKIS, AND
DIMITRIOS PAPADAKIS.



          This matter comes before the Court on an April 24, 2009 conference call. Good cause

having been shown, it is hereby

          ORDERED that the deposition of all material witnesses shall be concluded today, April

24. 2009; and it is further

          ORDERED that the government shall identif’ all material witnesses that it will call as

rebuttal witnesses today, April 24, 2009; and it is further

          ORDERED that if a material witness has not been identified as a rebuttal witness, that

witness shall be released once his deposition transcript has been certified; and it is further

          ORDERED that all rebuttal depositions shall conclude Sunday, April 26. 2009; and it is

further

          ORDERED that once a rebuttal witness has concluded his rebuttal deposition and all his

deposition transcripts have been certified, that witness shall be released: and it is further

          ORDERED that all deposition transcripts shall be delivered to the appropriate counsel on

an expedited. overnight basis; and it further
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          ORDERED that Defendants’ counsel shall have until May 15, 2009 to disclose their

expert:

          ORDERED that the U.S. Attorney shall give notice to all the parties, including the

counsel for the material witnesses, of this Order.




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                                                          /L        J’/ L
                                                      PETER G. SHERIDAN, U.S.D.J.
